                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

               v.                                            Case No. 05-CR-240

CRAIG BURNETT, et. al.,

                              Defendants.



                                              ORDER


       On March 31, 2008, this court ordered the government to file a bill of particulars no later

than April 14, 2008. (Docket No. 1174.) The court then permitted Craig Burnett until April 21,

2008 to indicate in writing if he still wishes to pursue his present motion to dismiss. In the interim,

Chief Judge Randa has scheduled the trials in this case to begin on September 2, 2008 and

instructed the government to provide the court with its outline of which defendants it intends to try

together no later than June 2, 2008. (Docket No. 1177.) On April 21, 2008, Craig Burnett filed a

motion seeking 10 additional days in which to file a motion to dismiss.

       For the reasons set forth below, the court grants Craig Burnett’s motion as modified: Craig

Burnett shall have through April 28, 2008 in which to file an appropriate letter. The government

shall have through May 12, 2008 in which to respond, and Craig Burnett shall have through May

16, 2008 in which to reply.

       As cause for his motion for an extension, Craig Burnett states

       The portion of the Bill of Particulars related to Mr. Burnett generally articulates
       seven activities alleged to have involved Mr. Burnett. It appears that some of these
       activities have not been the subject of any prior discovery. However, given the more
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       than 7,500 pages of discovery provided by the government, undersigned counsel
       needs additional time to evaluate whether or not the government has arguably
       complied with this Court’s previous Orders regarding discovery and whether or not
       the government has sufficiently identified the acts that the defendant allegedly took
       in furtherance of the conspiracy, including dates and locations of the specific acts, as
       required in the Court’s Order of November 7, 2007. (Docket No. 1006). Upon
       completion of this review, undersigned counsel will then be able to determine
       whether Mr. Burnett has grounds to pursue his Motion to Dismiss within the
       limitations set forth in the Order of March 31, 2008. (Docket No. 1174).

       The discovery in this matter was provided to Craig Burnett long ago and despite the fact it

consists of more than 7,500 pages, he has more than ample time to review it. In fact, one of the

main reasons this case has taken so long to process, which is the basis for Craig Burnett’s motion to

dismiss, was so as to ensure that defendants and their attorneys had able time to review the

substantial discovery in this case. Now, ironically, Craig Burnett asks for additional time.

       Further, as the court made clear in its prior order, (Docket No. 1174), Craig Burnett was

granted leave only to supplement his previously filed motion to dismiss, (see Docket No. 1172). All

of the grounds for dismissal raised in Craig Burnett’s prior motion relate to delays that have

resulted in this case. The court is unable to recognize how a further review of discovery will

warrant supplementation of such a motion.

       Finally, the court finds that it would be most efficient if the court was given the time to

resolve the defendant’s motion to dismiss in advance of the government’s deadline to provide its

outline of which defendants it sought to try together. In light of Chief Judge Randa’s June 2, 2008

deadline for the government to submit this information, the court finds that the schedule set forth

above is necessary.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin this 23rd day of April 2008.

                                              s/AARON E. GOODSTEIN
                                              U.S. Magistrate Judge



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